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24-3296 (L)

25-119 (Con)

UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

NEWTON’S PHARMACY, INC.,
Plaintiff-Appellant
v.
PROCTOR & GAMBLE COMPANY, ET. AL.,

Defendants-Appellees

On Appeal from the United States District Court
For the Eastern District of New York

PLAINTIFF-APPELLANT NEWTON'S PHARMACY, INCZS
APPENDIX
Volume 3 of 6

Joe P. Leniski, Jr. Alyson &. Beridon

HERZFELD, SUETHOLA, HERZ FELD, SUETHOLS,
GASTEL, LENISKI AND WALL, GASTEL, LENISKI AND WALL
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Consolidated New York Bellwether Class Action Complaint,
In Re: Oral Phenylephrine Marketing and Sales Practice,
Document Applies to All Cases, MDL No. 3089 (District
Court Docket No. 200, dated May 8, 2024..........cccccceeeeeeeees A-427
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CVS Pharmacy, Inc.

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Case 1:23-md-03089-BMC Document 200-6 Filed 05/03/24 Page 24 of 54 PagelD #: 2691

Sore throal waming: I sore throat wan cance for more
than 2 days, s accompanied or followed by fever, headache,
rash, nausea, or vomiting, consull a doctor promptly,

ss acetaminophen (prescription or

nanprescription). M you are not sure whelher a drug contains
acetaminophen, ask a doctor or phannaci,

mii you are now taking a prescription monoaming oxidase
inhibitor (MAO!) (cerain drugs for depression, psychiatric, or
emotional conditions, or Parkinson's disease), or for 2 weeks
after stopping the MAOI drug, If you do not know if your
prescription drug contains an MAOI, ask a doctor or pharmacks
before taking this product,

wil you have ever had an allergic reaction to this product or any of

its ingredients
Sin children under 12 years of age

Ask a doctor before use if you have

Bliver disease

mw hvearl disease

Bhigh blood pressure

thyroid disease

B diabetes

Bcough with excessive phlegm (mucus)

mi difficulty in urination due to enlargement of the prostate gland

m parsistent or chronic cough such as occurs with smoking,
asthma, or emphysema

Aska doctor or pharmacisl belore use It you are taking the blood
thinning drug warfarin

When using this product do mol exceed recommended dosage

rug Facts (continued) } Congestion & Cough Might

Do nol use to sedate children.

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wm with any olher drag containing acetaminophen (prescription or
nonprescription). If you are not sure whether a drug contains
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ils ingredients

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Aska doctor before use if you have

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asthma, or emphysema

Ask a doclor or pharmacist before use Wl you are

Bw taking the blood thinning drug warfarin

Wi taking sedatives or tranquilizers

When using this product

Bido not exceed recommended dosage

Bi imay cause marked drowsiness §=«mavodd alcoholic drinks

malcohol, sedatives, and tranquilizers may increase drowsiness

be careful when driving a motor vehicle or operating machinery

@ excitability may occur, especially in children ss

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Case 1:23-md-03089-BMC Document 200-6 Filed 05/03/24 Page 26 of 54 PagelD #: 2693
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Drug Facts (continued) Drug Facts (continued)

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wif you are now taking a prescription monoamine oxidase
inhibitor (MAO) (certain drugs for depression, Ke, oF
emotional conditions, or Parkinson's disease), or for 2 weeks
alter stopping (he MAO! drug. Hyou do notknowil your =
prescription drug contains an MAQI, aska doctor or pharmacist

you have ever had an allergic reaction to this product or any of
rediants

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rash, nausea, or vomiting, consull a doctor promptly.
Alborgy alert: Acetaminophen may cause severe skin reactions.
Symptoms may include:

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Haskin reaction occurs, stop use and seek medical help right away.

acelaminophen, ask a doctor or phanmacial
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drug
MAOI, ask a doctor or pharmacist before taking this product.
wif you have ever had an allergic reaction to this product orany of
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min chikiren under 12 years of age
Ask a doctor belore ute If you have
giver dkease mheartdiseasa mhigh blood pressure
m thyroid disease m diabetes
me cough with excessive phlegm (mucus)
w difficulty In urination due to enlargement of the prostate gland
m persistent or chronic cough such as occurs with smoking,
asthma, of emphysema
Ask a doctor or pharmacist before use il you are taking the blood
thinning drug warfarin.

Whoo using this product do nol exceed rocommended dosage is

Reka doclor or pharmacist before use il you are

taking the blood thianing drug warfarin

mw laking sedatives of tranquilizers

When using this product

edo mol oxcaed recommended dosage

mB may cause marked drowsiness mm avold alcoholle drinks
malcohol, sedatives, and tranquilizers may Increase drowsiness

i be catedul when driving a motor vehicle or operating machinery
m excitability may occur, especially is children ~

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— Compare to the achive ingredients in Vicks*

¥ CVSHealth. Sinex™ Daytene Congestion, Pressure & Pain*

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-PE Product Labels —
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200 mg Pain levee Reducer (NSAID) —

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v Sinus Pressure v Fever 4 | Flac

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 111 of 264

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Case 1:23-md-03089-8MC Document 200-7 Filed 05/03/24 Page
HOC OTS 057003 A-537

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HEADACHE &
ALLERGY RELIEF

Acetaminophen 325 mg Pain Reliever/Fever Reducer
Chlorpheniramine Maleate 2 mg Antihistamine
Phenylephrine HCI 5 mg Nasal Decongestant

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+ FEVER

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 129 of 264
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Cold & Cough

Dextromethorphan HBr Diphenhydramine HC!
(Cough Suppressant) (Antihistamine/Cough Suppressant)
Phenylaphrina HCI (Nasal Decongestant) © Phenylephrine HC! (Nasal Decongestant)
i. * Stuffy Nose * Cough Relief
: , = a + Cough * Runny, Stuffy Nose
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od » Cherry Grape ¢
FLAVOR FLAVOR

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 135 of 264
Case 1:23-md-03089-BMC Document 200-7 Filed 05/03/24 Page 27 of 36 PagelD #: 2748

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- Ibuprofen 200 mg Pain RelleverFever Reducer (NSAID)
-Phenlensne Hn Nasal eongsta |e
~ Chlorphenramine Maleate 4 mg Anthistamine «=. @p-t

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+ 9 Fever Runny Nose Fo a ¥
- wv Body Aches v Sneezing 30 YA, eianhee

oy Sinus Pressure wv Nasal Swelling
Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 136 of 264
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Ibuprofen 200 mg Pain Reliever Fever Reducer (NSAID)

: Phenylephrine HCl 10 mg Nasal Decongestant 7 zn

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 137 of 264

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Case 1:23-md-03069-BMC Document 200-7 Filed 05/03/24 Page 32 of 36 PagelD #: 2/753
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Case 1:23-md-03089-BMC Document 200-7 Filed 05/03/24 Page 33 of 36 PagelD #: 2754
MULTI-SYMPTOM COLD A-p65 cr
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Case 1:23-md-03089-BMC Document 200-7 Filed 05/03/24 Page 35 of 36 PagelD #: 2756
Maa Canis na

Soe A ee

Acetaminophen ee

Pain Reliever/Fever Reducer PF react sa ee ee)

Dextromethorphan HBr DUNT at
Cough Suppressant VEN GT RUT Ck Tl

Phenylephrine HCI iia
Nasal Decongestant Re Men Cael

» Cough a tye]

® Nasal Congestion maT Chie

® Sore Throat Pain eee eae i)

» Headache at chef lat ty

» Body Ache al sielel me lal)

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MULTI-SYMPTOM i - ts ae Bul:
SEVERE COLD i
Acetaminophen ernie
Pain Reliever/Fever Reducer MT eS ae
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* Cough = Headache La eee ste) ad] a
> Nasal Congestion = Body Ache eal eM eer gerd me [ei
» Sore Throat Pain » Fever eet ome Tritt |
MULTI-SYMPTOM Pat are a Merrill =
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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 1 of 30 PagelD #: 2758
A-569

Johnson & Johnson
Consumer Inc.

-PE Product Labels —
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2) 4-004 0525+ Ree ea tes 4

Drug Facts (continued) Drug Facts (continued)

Bilamporarly reduces fewer Haskin reaction occurs, slop wee and
saek madica! help right away.
Sore thtaal warning: if sore throat bs

Activeingredients Purpose
{in each 30 mL)

fered beucer oot piel
Re ee eo acetaminophen, Severa liver damage is ai

Warnings
Liver warning: Ths peoducl coalains

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 3 of 30 PagelD #: 2760

Drug Facts (continued)

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Parkinson’: desea], of lor Feoeks

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nal know II poer prescription drug
conlaine an MACH, ask adockor of

parma! qj this
wil you havo ever hi a
raattion to this peeduct or anny off its

Aska doctor belore se II you hare

Miverdecare

Biial diese

Bhigh blood pressure

Mi ihyrold disease

Mi diabetes

Bi lrouble urinating duo loan enlarged
prolate gland >

Drug Facts (continued)

Directions
edo nol taka more than direched
(ee overdose wanalng)

mdonatlake mora than
10 mL in 24 hours, unless
directad by edacier

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Drug Facts (continued)

i porsivien! or chroak cough suchas
cours wih smoking, as Bm,
chioile heonchis, of

Mm cough thal occurs with loa mech
philegin (mivcusp

Ask a doctoral pharmacist belore

wee IE yOu ame baking Pra bhood thinning

fin

When using this produgt do not

exceed recommended dese

Stop use and asia doctor tl
Im nervousness, dbzinass, or

BE pain, nasal congeslion or cowgh gels
worsede lacls more lhaa F days

i fever gals worse ce lasks more
than 3 days

Drug Facts (continued)

Other information

Weach )0 mL contains: sodium 10m
slow betwean 20-25'C (68-77'F).
edonotusall INS WARI

SEAGANTOM tt nese

Impainiod wilh TYLENOL" Is
broken ormlssing

Inactive ingredients

anardrous cine acid, FOULS bua ne, 1,

FOC red no. 40, FOC yellow no, 6,
flavors, glycerin, propytore ghyea,
purified rater, sodium banncahe,
sorbitol solion, sucraiosa

DES a ype may occur headache, neh, need, or verwling,
(Gusteneein 400 mg___Fnpectanant a wear 1 ‘consul a doctor promptly.
Pheryfeptving HOl 10 mg._asal decongactanl acetaninopten in 4 hows mo! —
Uses Sm ea eae ear me wih aay other drug containing
Bi lornporariy rollovas Rn boowlag coldity 3 of coro slechole dinks every day Sart ane niiis
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cause severe shin reaclices. nn
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mbites monoamine cocldase inhibtor (MAG
aia > feortal drugs lardepression, —

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These could belgie of a serious
conden, FI A(GE
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professional before use.
Keep oul ol reach of children.

away, (18002 -1)

Quick medical atlention is critical tov
adulis.as wollen for chddren event
Fou do nol aolice any signs of

Sy ep DOrS.

Drug Facts (continued)
Questions or comments?

call 1-877-894-3665 (toll-free) or
1NS-273-8755 foowacl)

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www,stopMedicineAbuse.org

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“O “TYLENOL COLD MAX" or fell immer

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 148 of 264

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Drug Facts

Activeingredients

Drug Facts (continued)
monoamine oxidase inhibitor (MAC)
(oertain drugs lor depression,
psychiatric or emotional condiions,
oy Parkingon’s disease), or for 2 weaks
after stopping the MAOI drug. i you do
not know if your prescription drug
contains an MAOI, ase adocior of
pharmacist before taldng this peeduct

mi if you have ever had an allergic
faaction to this product or any of its
ingredients

Aska doctor balore use il you have

Biver disease

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mhigh blood pressure

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mw diabetes

mi (rouble urinaling due toan enlarged

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Drug Facts (continued)

@ more than 4,000 mg of
acetaminophen in 24 hours
vith other drugs containing

acelin

m3 of more aloohotic drinks every day
while using this product

Allergy alert acetaminophen may

Cause SyeG SKI PoacliOnS,

Symploms may ineluda:
mskin reddening

Drug Facts (continued)
prostate gland
Batreathing problem such as
emphysema or chronic bronchitis
@ gaucoma
W persislent or chronic cough such as
occurs with smoking, asthma or

emphysema

cough thal occurs wilh joo much
prilegm (mucus)

Ask a doctor or pharmacist belore

use il youare

Wi laking the biood thinning drug
warfarin

Bi laking sedatives of lranquilizers

When using this product
mdonol exceed recommended dose
@ cxcdabiity may occur, >

Drug Facts (continued)

mw bisters

mrash

lla chin reaction oocurs, shop use and
Sook medical help right away.

Sore throal warning: liseee threat ls
soverd, parses for more than 2 days,
is accomparied or folowed by fever,
headacha, rash, nausea, of waning,
consull a doctor promptly.

Do nol use

Mvithany olher dg containing
acelaminophaen (peescripiion or
nonprescription! | you ane not
sure whelher a drug contains
acetaminophen, ask adocior of
pharmacisl,

Bi il you are now taking a prescription >

Drug Facts (continued)

especialy in children
iB marked drowsiness may occur

Si alcohol, sedatives and iranquilizers
may increase drowsiness

lm avoid alcoholic drinks

me be careful when drwing amotor
vehicle or operating machinery

Slop use and aska doctor if
Bi hervousness, deziness, or

gels worse or lasts more than 7 days
i fever pes worse oF lasts move lhan 3 days
redness of Syelling 6 present
Bnew symploms occur
iB cough comes back or oncurs with
fash of headache that lasts >

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Drug Facts (continued)

These could be signs of a serious
condition

li pregnant or breasl-leeding, ask
a health professional before use.

Keep oul of reach of children.
Overdose warning: Incase of
overdose, gal medical halp or contact a
Poison Control Center right away.
(1-800-222-1227) Quick medical
allention Is critical for adults as well as
for childven even Ifyou donot motica
any signs of symphoms,

Directions

w do not take more than directed
(see overdose warning)

mL = miliiter

Muse only enclosed desingcup =

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Drug Facts (continued)

Drug Facts (continued)

designed for use wilh this product.

Do nol use any other dosing device.
acute make 20 ml inthe dosing
and chiven | cup providediovery 4 Bours
layers =| while gymaploans las!

and over 8 donol lake move than
150 mi in 24 hours, eniess
Grected by a doctor

Chichen under) asia doctor
12 years

Other information

mw each 15 mL contains: sodium 5 img

m slore between 20-25°C (68-77'F).
Do not refrigerate.

@ do nol use (neck band imprinted
wilh “TYLENOL COLO MAX" or p.

foil inner seal imprinted wilh “SAFETY
SEAL” is broken of missing

Inactive ingredients

alcohal, anhydrous citric acid, FDC
blue no, 1, flavor, ghcarin, propylene
glycol, purified water, sodium

beroale, sorbitol solution, sucralase

Questions or comments?
call 1-877-895-3665 (lol-4ea) or
215-273-8755 (collect)

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www, StopMedicineAbuse.org

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Drug Facts Brug Facts (continued)
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“TYLEROL COLD. FLU COUGH™ we feel
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Drug Facts (continued) Drug Facts (continued)

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When using ida greduel
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Drug Facts (continued) ae Facts (continued) || |} Drug Facts (continued) | J WLENOU'
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-Inner seal imprinted with. "TYLENOL .
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Drug Facts Drug Facts (continued)
Active ingredients — Purpose jj  @'#mporarily reduces fever
(in each 30 mL) Warnings
Acetaminophen 650 Mg ...-ae aoe Liver warning: This product contains
acetaminophen. Severe liver damage
Daxromelhophan AB(20 tn..Coughsuppressert WH WI may occur FPOLNERE 7
Gallen esi 400 M9 ane ermnm --Expedtorant ifm more than 4,000 mg of
acelaminophen i in 24 hours
B with other dongs contalning

Uses as
B lemoore ly relieves the following cokd/ Au =: RON ie ane
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TAL: LE HERS Ere yf Dery
symptoms: "Wihbass this is product
mminor aches and pains Allergy alert: acataminophen may
Sones sie a cause severe skin reactions,
whalps loosan phlegm (mucus) and thin Ane
bronchial secretions lo make coughs mi blisters
more productive > rash b

Drug Facts (continued) Drug Facts (continued)

askin reaction occurs, stop use and pay chialric or emotional conditions, or
seek medical help right away. Parkinson's disease), or for 2 weeks
Sore throal warning: If sora Ihroat is afer stopping the MAOI drug. fyoudo
savera f than 2 days, nol know i'your preserigiion drug

is aocompahiéd.cr followed by fever, contains an MAOI, ask a doctor or
headache, rash, nausea, or vomiting, pharmacist Batons Spt
consulta doctor promplly. Bil you have ever had af aller
Senatere reaction to thls product or any of lis

Bi with any olher drug containing nae
acetaminophen (prescription or Ask a doctor before use if you have
nonprescription). Mf you ana not sure B liverdsease
whathera drug conialns heart disease
acelaminophen, ask a doctor or B high blood pressure
pharmacisl. m thyroid disease
Bifyou are now Laklng a prescripilon B diabetes
mondamine oxidase inhibitor (MAC!) Bf lrouble urinating due to an enlarged
(certain drugs fordeprassion, = prostate gland >

Drug Facts (continued) Drug Facts (continued)

B persistant or chronic cough such as Bredness or swelling is present
occurs wilh smaking, asthma, B hew symptoms occur
chronic bronchitis, or emphysema B cough comes back or occurs wilh
m cough that occurs with loo much rash or headache that lasts
phlegm (mucus) These could ba signs of a serious

Ask a doleforof pharmacist before condition, PAGE 7

use If you are taking theblood thinning | If pregnant or breast-feeding, ask
drugwarlarin a health professional before vse,

When using this product do not oe oo " childr °
exceed recommended dose a {Incase o
rose, gel medical help or contact

Slop use and ask a doclor il a Poison Control Center right

@ nervousness, dizziness, or away. (b- 800-222-1222)
sleeplassness occur Quick medical allention is critical for

B pa, nasal congestion or cough gals adults as well as forchildren evan if
worse or lasts more than 7 days youdo nol notice any signs or

B fever gels worse or lasts more symptoms,
than 3 days

} Drug Facts (continued) | Drug Facts (continued) |

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Directions Other hfSmation
m do nol take more than directed wcach 30 mL contains: sodium 10 mi
(see overdose warning) store between 20-25°C (68-77°F).
@ mL = miliiler a” mi = it tt WAR 3
mprin
aa doomed Rrbecet tae ruck SE SATIO i oF oil in re seal
Do nol use any other dosing device. imprinted with "TYLENOL" is

broken or missing

adults =| mtake-300ml Inthe dosing

and Cup provided every Inactive ingredients
chikiren | _ dhouswhilesymptomns st fH anhydrous citric acid, FD&C blue no, 1,

Th years | midonel take more than
andover | 150 mL in 24 hours, unless See deeih nhariee Orel os

directed by a doctor purified water, sodium benzoate,
chidran | aska doctor sorbitol solulion, sucralose
under
12 years

Drug Facts (continued) | JYLENOL

: COLD # FLU SEVERE
Questions or comments? 5 a
call 1-877-895-3665 (toll-frea) or kee t=)
215-273-8755 (collec! ae Pee Pelt)

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Drug Facts (cominuad)

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with “SAFETY

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Drug Facts (continued)

Drug Facts (continued)

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\ Drug Facts (continued) | | Drug Facts (continued) | | Drug Facts (continued) l TYLENOL

Drug Facts (continued)

Drug Facts (continued)

bngkysema or chronis bronchitis

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co hat cccurs wht00 Ruch
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en taclng sedatives oF tanquinzers

When ting this product
ane anceed recommended

sedatles and [pellets
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me bacasalil when driving a motor
vehicle or operating machinay

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mi nervousness, Grziness, or
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o con geniog oF
word of Lists more than 7 days
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N pregnant or bevaslfeodig, sok wits | wile somahtedot ATMO Drotener missiay COLD + FLU + COUGH
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fos sewrdees wireline) modch 15 mL cordaina: sodium § sare
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Ce ae Wali UO) tia

Drug Facts

Drug Facts (continued)
Activeingredients Purpose i !2mpcrarily reduces fever

(in each 30 mL) Warnings

Liver warning: This product contains

acelaminophen. Severe liver damaga

may occur FPG IER 4

B more than 4,000 mg of
acelaminophen in 24 hours

B wilh olher drugs containing

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uses ; ian :
8 fomporarily relleves the following cold/flu nti drinks every day
Symptoms. : while using this product
is minor aches and pains Allergy alerl: acetaminophen may
w headache fon @ sore ne cause severe skin reactions.
Mi nasal conges @ coug ms may include:
ahs loosen phlegm (rucus) and thin. ft Wf ps aeadentg
bronchial secretions to make coughs w blisters
more productive > 0 arash b

Drug Facts (continued) Drug Facts (continued)

Haskin reaction occurs, stop use and paychialric or emotional conditions, or
sock madical help right away. Parkinson's disease), of for 2weeks
Sore throal warning: f sora throat afler slopping the MAOI drug. fyoudo
sovero § for more than 2 days, nol know i your prescription drug
ener niger by fever, contains an MAOI, ask a doctor or
headacha, rash, nausea, or vomiling, pharmacist atop |
consulta doctor promptly. mil you have ever had an alle
reaction to this product or any of its

Donol use inoradiants
mwith any olher drug containing g

acetaminophen (prescription or Aska doctor before use it you have
nonprescription). Ifyou ara not sure B livar disease
whether a drug contains B heart disease
acalaminophan, ask a doctor or high blood pressure
pharmacist, BS lhyroid disease
Bi ifyou are now laking a prescription mi diabetes
monoaming oxidase Inhibitor (MAOI) 8 lrouble urinating due to an enlarged
(certain drugs fordapression, prodlala gland >

Drug Facts (continued) Drug Facts (continued)

persistant or chronic cough such as @ redness or swelling is present
occurs with smoking, asthma, Wnew symptoms occur
chronic bronchitis, or emphysema cough comes back or occurs with
@ cough that occurs with loo much rash or headache that lasts

phlegm (mucus) These could be signs of a serious

Aska doctofot pharmacist before fp condition PAGE 7

use If you are taking tha blood thinning It pregnant or breast-feeding, ask
drug warfarin a health professional before use.

When using this product do nol Keep out of reach of children.

exceed recommended dose eit Hote tesla

Slop use and ask a dectoril a Polson Control Center right

B nervousness, dizziness, of away. (1-800-222-1222)
sleaplassness occur Quick medical attention is critical for

Bi pain, nasal congestion or cough gets adulls as well as for children even It
worse of lasts more than 7 days youdo nol nolles any signs or

iB fever gets worse or lasts more symptoms.
than 3 days

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 15 of 30 PagelD #: 2772
Drug Facts (continued) Dry AB | (continued)

Directions Other information —
we donot take more than directed Beach 30 mL contains: sodium 10 me
(see overdose warning) W store betweon 20-25°C (69-77°F).
@ ml = rnililiier a mintp vt if meck ARM :
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ibe designed Breath th SE ator ar oll in m seal
Don nol use any tu Gara 2 toa imprinted with "TYLENOL" is

broken or missing

adulls =| mi lake 30mL in thadosing
and Cup provided every
chidren | 4 hours whilesymptons bs!
T2years | mdonci tale more than
andower | 150ml in 24 hours, unless:

Inactive ingredients
anhydrous clirle achd, FD&C bhue no, 1,

FD&C redno, 40, FD&C yellow no. 6,
flavors, glycarin, propylene glycol,

directed by a doctor purified water, sodium benzoate,
chidren | aska doctor sorbitol solution, sucralose
under
I2 years

Drug Facts (continued) | JYLENOL

COLD + FLU SEVERE

Questions or comments? ;
call 1-877-805-3665 (toll-free) or Fhe) a er= 8 d= =)
215-273-8755 (collect) ae Peet ee fs] i)

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 17 of 30 PagelD #: 2774
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iy , en ' —— ia blankets in hot'water ff
A Le P eT and use the dryer

weekly |
Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 163 of 264

Paee 1: 23- md-03089-BMC Document 200- a Filed 05/03/24 Page 19 of 30 PagelD vi 2°76
: =f * Minimize contact
and keep pets out of

the bedroom to help
with pet allergies

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Drug Facts (continued)

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CONGESTION(-588

Drug Facts

Activeingredients (ineachSmL) Purposes
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Uses

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Bnunny nose Banoning
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When oslng thts product

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 20 of 30 PagelD #: 2777

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Directions

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Altontion: use a
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Ofher information

Beach $mL i is ”

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“Sealed For Your Salely"ls broken or missiag

Inactive ingredients

anhydrous civic ack, carbanyree inyiceluiose Sodium, adetala
dsodum, FOAC buena. 1, FDSCredno. 40, flavors, glycerin, purified
walbr, sodium bantosla, sodiun otal, sewhtol solulion, sucreiose

Questions or comments?
call 1-877-717-2824 (lol free) or 215-273-6755 (collec

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Drug Facts pastineel Pests Ben

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 166 of 264

Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 22 of 30 PagelD #: 2779
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Warnings
Do not 06 ina child who a aprescriplan

monoantine oxidase inhibilor (MAG |) (ceclain drugs
for depression, pay chiatric or emoalonal qondiions, or
Parkinson's dizease), of for 2 weeks sate

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nresictien tna ales an MAO eek docior or
phommactst before ghing this product,

Aska doctor belore use the child hat

B heart deease

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When using this prodect do nal exceed
Ponmmeanded dase |

Slopuse and ask a doctor if

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Pager pa lly i | Gf @ nervousness, dizziness, or sleeplassndss occur
Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 167 of 264
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Drug Faets (continued) rel d OF || Fas)

Keep oul of reach of children, ih case of
overdose, gal macical help or contact a Poison
Control Cantar right erry. (1-800-222-1222)

Directions

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Bi repeal dose every 4 hours
Bido nol use more than 6limes in 24 fours
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Attention: use ony enclosed dosing cup
specifically designstd for use wilh this product
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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 168 of 264

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Other information

Beach § mL comlalns: sodium 14 mg

Bishore betoeen 20-75°C (66-7 7°F), Protect from
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Imprinted with “Scaled For Your Sally” ts
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Inactive ingredients hgse

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sodium, edalale disodium, FO&C red no. 40, fhwvors, dd libel
glycaris, purilied water, sodium banzowle, sodium Other Products Fonr d Te
ciralo, scebaol solution, sucralose allave Your Child's Svmotems

Questions or comments? Oi letwceyaycc}its\ alate!

an 17-2007 (toll-free) of 20S 279-878 ian aa rs ere) Wi leet

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the dosing cup to properly
3 0045-0537-041 dose medication

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 25 of 30 PagelD # 2782

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IMPORTANT:
Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 170 of 264

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 27 of 30 PagelD #: 2784

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Case 1:23-md-03089-BMC Document 200-8 Filed 05/03/24 Page 28 of 30 PagelD #: 2785

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 173 of 264

Case 1:23-md- 03089- BMC Document 200-8 Filed 05/03/24 Page 29 of 30 PagelD #: 2786

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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 174 of 264

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Johnson & Johnson
Consumer Inc.

-PE Product Labels —

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are dedicated to helping you and your family reduce
head congestion and sinus pressure.

| PREVIOUSLY SURDAFED PE" PRESSURE + PAIN+ COLD «NOC 50560-450-0)

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Drug Facts (continued) Drug Facts (continued)
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Case: 24-3296, 03/28/2025, DktEntry: 97.1, Page 187 of 264

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Drury Facts (continued)

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designed for usa with this product.
Corel use any otherdosiag device.

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Drug Facts (continued)
Other information
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COLD + FLU 4 COUGH" or foil
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"SAFETY SEALS” Is reken

Inactive ingredients

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ned know d your proseriz bon drug
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reaction to (his peodoct or any of its
ingredients

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Drug Facts (conlinued)
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a hoslth peolassiqnal before use.

Keep oul of reach of children.

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(1-800-222-1222) Quick matical
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™ Do notuse if neck band imprinted with
“TYLENOL COLD+FLU+ COUGH" or foil
c inner seal imprinted with “SAFETY

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Drug Facts

Active ingredients

(in each 15 mL)
Acetaminophen 325 mg

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Purpose

Dex tromethorphan HBr 10 mg...Gough suppressani
Doxytarnine Succinate 6.25 mq.........Antihistamine
Phenylephrine HCI 5 mg........Nasal decongeslant

Uses
@ lemporarily relieves these common
cold/flu symptoms:
B minor aches and pains
@ headache m@ sore throat
Mm nasalcongestion —
Z eee and sneezing
B coug
B® sinus congestion and pressure

w helps clear nasal passages >

Drug Facts (continued)

Ifa skin reaction occurs, slop use and
seek medical help right away.
Sore throat warning: lf sore throat is

severe, persists for more than 2 days, is
accompanied or followed by fever,
headache, rash, nausea, or vomiting,
consult a doctor promptly.

Do not use

m with any other drug containing
acetaminophen (prescription or
nonprescription), Ifyou are not sure
whether a drug contains
acetaminophen, ask a doctor or
pharmacist,

if you are now taking a pec
monoamine oxidase inhibitor (MAO!)
(certain drugs for depression,
psychialric or emotional

>

Drug Facts (continued)

Mi relieves cough to help you sleep
@ lemporarily reduces fever

Warnings

Liver warning: This product contains

acetaminophen. Severe liver damage

may occur if you take

more than 4,000 mg of
acetaminophen in 24 hours

mwith other drugs containing
acetaminophen

w3ormore alcoholic drinks every day
while using this product

Allergy alert: acetaminophen may

cause severe skin reactions. Symptoms

include:

m@ skin reddening

m blisters

Brash

Drug Facts (continued)

conditions, or Parkinson's disease},
or for 2 weeks after stopping the
MAOI drug, If you do not know if your
prescription drug contains an MAQI,
ask a doctor or pharmacist before
taking this product.

m if you have ever had an allergic
reaction to this product or any of its

ingredients

Aska doctor before useif you have

w liver disease

w heart disease

i high blood pressure

mw thyroid disease

m diabetes

m (rouble urinating due to an enlarged
prostate gland

wa breathing problem such as >

Drug Facts (continued) Drug Facts (continued) |
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Case 1:23-md-03089-BMC Document 200-9 Filed 05/03/24 Page 16 of 35 PagelD #: 2803

emphysema or chronic bronchitis

m glaucoma

lm persistent or chronic cough such as
occurs with smoking, asthma or
emphysema

cough that occurs with too much
phlegm (mucus)

Aska doctor or pharmacist before

use if you are

mi taking the blood thinning drug
warfarin

mi taking sedatives or tranquilizers

When using this product

m do not exceed recommended
lose

im excitability may occur, especially in
children

m marked drowsiness may occur

Drug Facts (continued)

watang Aaives and tranquilizers

may increase drowsiness

WB avoid alcoholic drinks

m be careful when driving a motor
vehicle or operating machinery

Stop use and ask a doctor if

Mnervousness, dizziness, or
sleeplessness Occur

@ pain, nasal congestion or cough gels
worse or lasts more than 7 days

mw fever gets worse orlasts more than 3

wredness or swelling is present

Bnew symptoms occur

m@ cough comes back or occurs wilh
rash or headache that lasts

Thase could be signs of a serious

condition. pb

Drug Facts (continued)

It pregnant or breast-feeding, ask a

health professional before use.

Keep out of reach of children,

Overdose warning: In case of

overdose, gal medical help or contact a

Poison Control Center right

away, (1-800-222-1222) Quick medical

attention is critical for adults as well as

for children even if you do not notice

any signs or symptoms.

Directions

edo not take more than directed
(see overdose warning)

mw mL = milliliter

use only enclosed dosing cup
designed for use with this product.
Do not use any other dosing device.

b>

Drug Facts (continued)
is broken or missing

Inactive ingredients
acelic acid, alcohol, anhydrous citric
acid, FD&C blue no. 1, FD&C red no.

adults m take 30 mL in the dosing
and cup provided every 4
chikdren hours while symptoms last
T2years =| mdonol take more than 150
and over mL in 24 hours, unless
directed by a doctor

chikdren
under

ask adoctor

ll years

Other information

@ each 15 mL contains: sodium 5 mg

@ store between 20-25°C (68-77°F). Do
not refrigerate,

@ donot use tf neck band imprinted
with “TYLENOL COLD+FLU+COUGH"
or foil inner seal imprinted with
“SAFETY SEAL®"

TYLENOL

COLD + FLU + COUGH
NIGHT

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40, flavors, glycerin, propylene glycol, at oa ste) =| ae ei
purified water, sodium benzoate, TAHT mee Lae I§

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OTe eal Ce ee ene hs
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sorbitol solution, sucralose

Questions or comments?
call 1-877-895-3665 (toll-free) or
215-273-6755 (collect)

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www, StopMedicineAbuse,org

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Drug Facts [Pr Facts (continued)
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Case 1:23-md-03089-BMC Document 200-9 riled 05/03/24 Page 20 of 35 PagelD #: 2807

Pei SP Serene

(in each 30 mL)

nT pero

Guaifenesin 400 mg _.Expactorent
Phenyteptvine HCI 10 mg.,...Nasal decongestant

8 iemporarily relleves the folowing cold/llu
symptoms:
@ minor aches and palns
headache m sore [hroal
Bnasalcongestion Mm cough
Bhelps loosen phlegm (mucus) and thin
bronchial secrations to make coughs
more productive >

Drug Facts (continued)

Ifa skin reaction occurs, stop use and
seek medical help right away.
Sore throal warning: If sore throat ls

acd ole old ty over a

headache, rash, nausea, erm
consulta doctor promptly

Do not use
m with any other drug contalning
acetaminophen (prescription or

nonprescription). Ifyou ara nol sure
whelhera drug contains

acetaminophen, ask a doctor or
pharmacist,

Bifyou are now laking a prescription
monoamine oxidase inhibitor (MAO!)
(certain drugsfordeprassbon, = >

Drug Facts (continued)

B persistant of chronke cough such as
occurs with smoking, asthma,
chronic bronchitis, or emphysama

B cough that occurs with loo much
phlegm (mucus)

Ask a doctar'ot pharmacist before

use if you are taking the blood thinning

drugwarfarin

When using this product do nat
exceed recommended dose

Stop use and aska doctor if

Warnings
Liver warning: This product contains

ay coc lwer damage
may occur wa 4

Bmore than 4,000 mg of
acetaminophen in 24 hours

mB with other drugs containing
acetaminophen

3 of more alcoholic drinks every day
while using this product

Allergy alert: acetaminophen may

cause severe skin reactions.

Symptoms may include:

skin reddening

BW blisters

Brash

Drug Facts (continued)

pay chialric or emotional conditions, or
Parkinsons disease, or for 2weeks
alter stopping tha MAO! drug. Ifyoudo

nol know if' your prescription drug
containg an MAO|, asx adocioror

phanmactst uel.
Bil you have ever had anallerg
reaction to this product or any of its
ingredients

Aska doctor before use il you have
giliver disease

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B diabates

B lroubla urinating due lo an enlarged

prosiate gland >

Drug Faets (continued)

B redness of swelling |s prasent

Bnew symptoms occur

Bi cough comes back or occurs with
rash or headache lhat fasts

These could be signs of a serious

condition. PACE 7

I! pregnant or breast-feeding, ask

a health professional before use.

Keep out of reach of children.

Overdose warning: In case of

overdose, gal medical help or contact

a Poison Control Canter rich!

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B narvousness, dizzinass, or
Sleaplessness Occur

@ pain, nasal congestion or cough gets
worse or lasts mora than 7 days

iB fever gels worse of lasts mone
than 3 days >

Drug Facts (continued)

Directions

e donot take more than directed
(see overdose warning)

@ mL = milliliter

Buse only
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Do nol use amy ere davke.

aduils =| miske}0mL inthedosing

and Cup provided every

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T2years | mi donol take more than

andover | 150 mLin24 hours, unless
directed by a doctor

aska doctor

children
under

I2 years

Drug Facts (continued)

Questions or comments?
call 1-877-895-3665 (loll-free) or
215-273-8755 (collecl)

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www,StopMedicineAbuse,org

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Quick medical allantion is critical for
adulls as wells for children even if
you do not notice any signs or
Symptons.

Drug Facts (continued)

Other information

Beach 30mL contains: sodium 10 mg
@ store between 20-25'C (69-77"F).
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SE SATION Oe infer seal

imprinted with" TYLENOL" is

broken or missing

Inactive ingredients
anhydrous cliric acid, FD&C bave no, 1,
FD&C rad no, 40, FD&C yellow no. 6,
flavors, glycerin, propylene glycel,
purified water, sodium banzoate,
sorbilol solution, sucralosa

TYLENOL

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Drug Facts

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Drug Facts (continued)
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Warnings
Liver warning: This product contains
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Drug Facts ( (continued)
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Mdlutetes
WB boubio winating due to an enlarged
prostate gland b

Drug Facts (continued)

Directions

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seg crerdone warning)

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Muse only fale

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Wee 10m. nhedeairg
cay provided every

Drug Facts (continued)

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ooruen with smoking, esl,
chioeds bronchitis, of emipiysema

ii cough lhal occurs with boo mechs
phiegen (uci)

Ask a docier'et pharmdgis! belore
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Whea using this product de not
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Slop use and ask a decker ll

Mnarvyousness, douinass, or
Seophessness occult

Bw palh, nasal congestion ov cough gets
worse of lasts more than 7 days

Ww fever gets worse orlavts mare
than ddaye

Drug Facts (continued)

Other information

each 30 mL contains: pode vo m
tlre between 20-25°C [8-77°F).
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Mcielnaasex swelling ls present
Mitew syinplons occur
cough comes back or occurs wih
rash or headache What tails
These could bo shpat of a serious
condiion PAGE OF
Il pregnant of breastfeeding, ask
a heal profeational belong wee
Reop aul al raachol children.
Overdose warning: incase of
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aiPotson Control Center fight
any, (108-293-1203)
Quick medical attention is ciiical for
duis a3 well as for chideen avon
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symptom.

Drug Facts (continued)

Questions or comments?
call 1-877-895-5665 [lolllsea) of
214-273-878 (collec)

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Drug Facts

Drug Facts (continued)

Mincecrine coddase intibsior (MACH)
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peychlatic or ennodonal conditions,
of Parkinson's disease), or lor 2 weeks
afler slopping the MAC! dng. f'you de
nel know if your peesoripton dug
contains an MAQI ask a doctor or
pharmacisl before taking this product,

if you have ever had an allergic
reaction lo this product or any af ils
ingredients

Aska doctor before use if you have

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Drug Facts (continued) Drug Facts (continued)
Wi helps dear nasal passages misters
Bifeleves cough lo help you sleep Miash
M@ilenporarily reduces fever lla skin action occurs, slop wee and
ook medical holp hgh away.
varenge Sore throat warding: if'sore throat s
Liver warming: This product contains SevETO, persis ker more Han 2 days,
foarinophen, Sevece liver dawage ie aocompanied or followed by faved,
may cocur if you take headache, rath, nausea, of vorniing,
imcee then. 4,000 mg.ol ooedulla dochor promply,
ns Do not ese
Wm 5 of moee alcoholic cinies ay
‘while using this product mee
Allergy slet lait: acetaminophen may
Cause severe shin reactions.
Symphorns may inchale:
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Drug Facts (continued)
proslate giand
Ba breathing problem such as
emphysema oe chronic bronchitis
B gaucoma
 persclanl or chronic cough such as
occurs with semmiking. asthma of im be-carefulwhen driving a moter
arnphyseen vehicle or cpwaling machinery
8 cough thal occurs with loo much
phlegm (mucus) Stop use and aska dectoril

Ask a doctor or pharmacist belore
use il you are
i Laking the binod thinning drug

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BE rervousess, dzziness, of
Heaplessness occur

i pain, nasal congestion or cough
gels worse of lasts more than 7 days
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BH Uc

B hearl dsease

mi high blood pressure
Bi lhyrold dbeace

lM diabotas

ms rouble urinating due to an enlanged De

Drug Facts (continued)

These could ba signs of aserious
condition,

pregnant or breast-feeding, ek
ahealh professional before use.

Keep oul ofreach of childran.
Overdose warning: Incase of
overdese, gel médical help or contacl a
Poison Gonlral Genter right away.
(1-800-222-1222) Quick madical
amveniion ls critical for adulls as well as
for chidren evenil you do rol notice
any Signs of symploms.

Directions

m do not take more than directed
(see overdose warning)

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Museonlyencoseddodngcup =

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When osing this product
edonol exceed recommended dose
Bcxcaability may occur, >

Drug Facts (continued)
designed ke use with this produc.

Do nol use any other dosing device,
atuls | im take SOL in he deeaneg
and chien | cup poovided every 4 hours
12 years ‘while symptoms baal

and over do not taba more than
PS0.mnl. bn 24 hours, endless
directed by: doctor
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Other information

m each 15 mL comains: sodium 5 mg

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Case 1:23-md-03089-BMC Document 200-9 Filed 05/03/24 Page 25 of 35 PagelD #: 2012

I Never gata woes or Lasts Moone Than 3 days
redness or swelling & present
new sympioms occur

B cough comes back ov oocurs with

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Drug Facts (continued)

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SEAL@* is broken or missing

Inactive ingredients
aicohel, anhydrous citric acid, FDBC

Questions or comments?
cal 1-877-895-3665 (loll-free) o°
215-273-8755 (collecl)

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www.stopMedicineAbuse.org

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oO Do not use If neck band Imprinted with
‘© “TYLENOL COLD +MUCUS SEVERE” or
Eee c, foil inner seal imprinted with “SAFETY

< SEAL®” is broken or missing.

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Case 1:23-md-03089-BMC Document 200-9 Filed 05/03/24 Page 31 of 35 PagelD #: 2818

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TYLENOL

COLD + MUCUS SEVERE
Drug Facts In loli acer<]@M i Kc aley/ oka

Active ingredients Purpose Sl Led ddd
(in each 15mL) A eRe cla

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Acetaminophen 325 ma......... Pain reliever! EN LN eta a

lover reducer EE aa a ll
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i for the temporary relief of the following

cold/flu symptoms: ECCT E DE

@ minor aches and pains Iyer cafe
w headache w sore throat me em EU A) BLN paca Lie
ce I MLOra TESTE Tp atid cess ducer t com MWe LaDy

Mnasal congestion mcough — RT ar Cn AGA WETELNch|
i helps loosen phlegm (mucus) and thin MOA eh
bronchial secretions to make coughs

more productive bp

Drug Facts (continued) {]§ Drug Facts (continued)

m@ temporarily reduces fever Ifa skin reaction occurs, stop use and
seek medical help right away,

Warnings Sore throat warning: Ifsore throat is

Liver warning: This product contains [i i severe, persists for more than 2 days,

acetaminophen. Severe liver damage is accompanied or followed by fever,

may occur if you take headache, rash, nausea, or vomiting,

@ more than 4,000 mg of consult a doctor promptly.
acetaminophen in 24 hours.

m with other drugs containing Do not use .
acetaminophen mi with any other drug containing

m3 or more alcoholic drinks every day acetaminophen (prescription of
while using this product nonprescription), If you are not

Allergy alert: acetaminophen may sure whether a drug contains

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Case 1:23-md-03089-BMC Document 200-9 Filed 05/03/24 Page 32 of 35 PagelD #: 2819
CAUSE Severe SKIN reactions. A

Symptoms may include:

@ skin reddening

m blisters

Mrash b>

Drug Facts (continued)

depression, psychiatric or emotional
conditions, or Parkinson's disease),
or for 2 weeks after stopping the
MAOI drug. If you do not know if your
prescription drug contains an MAQI,
ask a doctor or pharmacist before
taking this product.

m if you have ever had an allergic
reaction to this product or any of its
ingredients

Ask a doctor before use if you have
liver disease

@ heart disease

mw high blood pressure

m thyroid disease

@ diabetes

CLAS LH DTPA RE, eR cl LLL) Li
pharmacist.

if you are now taking a
prescription monoamine oxidase
inhibitor (MAQI) (certain drugs for >

Drug Facts (continued)

trouble urinating due to an enlarged
prostate gland

@ persistent or chronic cough such
as occurs with smoking, asthma,
chronic bronchitis, or emphysema

@ cough that occurs with too much

phlegm (mucus)

Ask a doctor or pharmacist before
use if you are taking the blood
thinning drug warfarin

When using this product do not
exceed recommended dose

Slop use and ask a doctor if

Bnervousness, dizziness, or
sleeplessness occur

pain, nasal congestion or cough >

Keep out of reach of children,
Overdose warning: Incase of
overdose, get medical help or contact a

Drug Facts (continued) Drug Facts (continued)

gets worse or lasts more than7 days i Directions
Wi fever gets worse or lasts more than 3 day Ht Ww do not take more than directed
sorcaraeeane present (see overdose warning)
B® cough comes back or occurs with a Bras ddosin

rash or headache that lasts eee
These could be signs of a serious designed for use with this product.
condition. Do not use any other dosing device.
If pregnant or breast-feeding, ask adults lm fake 30 mL inthe dosing
a health professional before use. and cup provided every 4 hours

children | while symptoms las!
I2years | mdonotlake more than
andover | 150mLin 24 hours, unless
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Case 1:23-md-03089-BMC Document 200-9 Filed 05/03/24 Page 33 of 35 PagelD #: 2820

Poison Control Center right away. A
(1-800-222-1222) Quick medical
allention is critical for adults as well as
for children even if you do not notice
any signs or sympioms.

Drug Facts (continued)

1 directed by a doctor
children | ask adoctor

Drug Facts (continued)

Other information

meach 15 mL contains: sodium 5 mg

m@ store between 20-25°C (68-77°F),
Do not refrigerate.

mdonotuse ifneck band
imprinted with “TYLENOL COLD
+ MUCUS SEVERE” or foil inner
seal imprinted with “SAFETY
SEAL®” is broken or missing

Inactive ingredients
alcohol, anhydrous citric acid,

FD&C blue no, 1, flavor, glycerin,
propylene glycol, purified water,
sodium benzoate, sorbital solution,
sucralose b

Questions or comments?

call 1-877-895-3665 (toll-free) or
215-273-8755 (collect)

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www.StopMedicineAbuse.org
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A-634

Procter & Gamble Co.

-PE Product Labels —
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A-644

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A-648

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Case 1:23-md-03089-BMC Document 200-10 Filed OS/03/24 Page 16 of 16 PagelD #: 2838
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A-650

Procter & Gamble Co.

-PE Product Labels —

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A-653

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A-662

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A-665

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A-666

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A-668

Procter & Gamble Co.

-PE Product Labels —

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